
USCA1 Opinion

	













                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________


        No. 95-1858

                                    UNITED STATES,

                                      Appellee,

                                          v.

                               VALENTIN SEVERINO-NUNEZ,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. Hector M. Laffitte, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                            Cyr and Stahl, Circuit Judges.
                                           ______________

                                 ____________________

            Raymond Rivera on brief for appellant.
            ______________



                                 ____________________

                                   August 14, 1996
                                 ____________________






















                      Per Curiam.  Valentin Severino Nunez pled guilty to
                      __________

            aiding  and  abetting  others in  possessing  with  intent to

            distribute approximately  540  kilograms of  cocaine and  was

            sentenced to  a 90-month  prison term.  He appealed  from his

            sentence.   Appellate  counsel  has now  filed a  brief under

            Anders v. California, 386 U.S. 738 (1967), asserting the lack
            ______    __________

            of  any  meritorious  ground  for  appeal,  and a  motion  to

            withdraw which he has  served on Severino.  Although  counsel

            notified Severino of his right to  file a supplemental brief,

            Severino has not filed any brief and the deadline has passed.

            Because we  agree that  this appeal has  no merit,  we affirm

            Severino's  conviction and sentence  and grant the  motion to

            withdraw.  

                      The plea  hearing transcript  shows that  the court

            conducted a colloquy which substantially conformed to Fed. R.

            Crim.  P. 11  requirements  and  that  Severino  pled  guilty

            voluntarily and knowingly.  Hence, his guilty plea was valid.

            Cf. United  States v. Cotal-Crespo,  47 F.3d 1, 4  (1st Cir.)
            ___ ______________    ____________

            (guilty  pleas which violate  the "core concerns"  of Rule 11

            must be set  aside), cert. denied, 116 S. Ct. 94 (1995).  Any
                                 ____________

            technical defect was harmless.  See id.; see Fed. R. Crim. P.
                                            ___ ___  ___

            11(h) (variances from Rule 11  procedures which do not affect

            substantial rights are to be disregarded).  

                      Any  claim that Severino  should have  received the

            lowest  possible   sentence,  i.e.,  87   months,  would   be



                                         -2-















            meritless.   The applicable sentencing guideline range was 87

            to  108  months.    In the  plea  agreement,  the  government

            promised to  recommend a sentence  at the "lower" end  of the

            range,  which it did.  At sentencing, the court imposed a 90-

            month sentence, which was unquestionably within the lower end

            of  the  guidelines.    Even  if,  despite  the  government's

            recommendation,  the court had chosen an even higher sentence

            within the  guideline range, Severino would have no basis for

            complaint.  In his  plea agreement, he acknowledged  that the

            court  was   not   bound  by   the  government's   sentencing

            recommendations.  

                      Moreover,  Severino  cannot  avail  himself of  the

            additional two-level reduction in base offense level accorded

            some defendants by Amendment 515 of the Sentencing Guidelines

            since he was sentenced before the Amendment became effective.

            In  United States  v. Sanchez,  81  F.3d 9,  12-13 (1st  Cir.
                _____________     _______

            1995), petition for cert. filed, -- U.S.L.W. -- (U.S. July 8,
                   ________________________

            1996) (No. 96-5082), we determined that  the Amendment is not

            retroactive.

                      We affirm  appellant's conviction and  sentence and
                      ___________________________________________________

            grant counsel's motion to withdraw.
            ___________________________________











                                         -3-









